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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
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                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
     information associated with certain Facebook and Instagram             )
        user IDs that are stored at premises owned, maintained,
   controlled, or operated by Meta Platforms, Inc. (“Meta”), a social       )
    networking company headquartered in Menlo Park, California              )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B.




         YOU ARE COMMANDED to execute this warrant on or before                                (not to exceed 14 days)
        u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying,, the
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Date and time issued:#DP
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City and state:                    Milwaukee, WI                                      Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                             Case 2:24-mj-00838-NJ Filed 03/26/24 Page 1 of 33 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                      ATTACHMENT A


                                   Property to Be Searched


To the extent that the information described in Attachment B is within the possession, custody,

or control of Instagram/Facebook that is stored at premises owned, maintained, controlled or

operated by Meta Platforms, Inc. (“Meta”), a company headquartered in Menlo Park, California,

Instagram/Facebook is required to disclose to the government the information for the following

accounts and dates:


 FACEBOOK NAME           FACEBOOK IDENTIFICATION               DATES
                         (UID)

 BariWith TheNats        61552573884141                        January 14, 2024 to February 1,
                                                               2024

 Bäri Löwëšt ÏññäMïl     100035266607801                       January 14, 2024 to February 1,
                                                               2024

 Thanks ForYo Bape       100089864558713                       January 14, 2024 to February 1,
                                                               2024

 Zavaesha Stinson        100043712520182                       January 14, 2024 to February 1,
                                                               2024

 Nene Lõww               100082689077562                       January 14, 2024 to February 1,
                                                               2024



 INSTAGRAM               INSTAGRAM WEB ADDRESS                         DATES
 ACCOUNT
 USERNAME
 Bta_bari20              https://www.instagram.com/bta_bari20/         January 14, 2024 to
                                                                       February 1, 2024
 Nene_loww               https://www.instagram.com/nene_loww/          January 14, 2024 to
                                                                       February 1, 2024




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                                        ATTACHMENT B

                                  Particular Things to be Seized

I.     Information to be disclosed by Meta Platforms, Inc.

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Meta Platforms, Inc. (“Meta”), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Meta, or have been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), Meta is required to disclose the following information

to the government for each user ID listed in Attachment A:

       (a)      All contact and personal identifying information, including the full name, user

                identification number, birth date, gender, contact e-mail addresses, physical address

                (including city, state, and zip code), telephone numbers, screen names, websites,

                and other personal identifiers for user Account Name with the Usernames and

                Account IDs listed in Attachment A.

       (b)      All activity logs for the account and all other documents showing the user’s posts

                and other Facebook or Instagram activities from January 14, 2024 to February 1,

                2024;

       (c)      All photos and videos uploaded by that user ID and all photos and videos uploaded

                by any user that have that user tagged in them, including Exchangeable Image File

                (“EXIF”) data and any other metadata associated with those photos and videos;

       (d)      All profile information; News Feed information; status updates; videos,

                photographs, articles, and other items; Notes; Wall postings; friend lists, including

                the friends’ Facebook user identification numbers; groups and networks of which



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         the user is a member, including the groups’ Facebook/Instagram group

         identification numbers; future and past event postings; rejected “Friend” requests;

         comments; gifts; pokes; tags; and information about the user’s access and use of

         Facebook applications;

(e)      All records or other information regarding the devices and internet browsers

         associated with, or used in connection with, that user ID, including the hardware

         model, operating system version, unique device identifiers, mobile network

         information, and user agent string;

(f)      All other records and contents of communications and messages made or received

         by the user from January 14, 2024 to February 1, 2024, including all Messenger

         activity, private messages, chat history, video and voice calling history, and

         pending “Friend” requests;

(g)      All “check ins” and other location information;

(h)      All IP logs, including all records of the IP addresses that logged into the account;

(i)      All records of the account’s usage of the “Like” feature, including all Facebook

         posts and all non-Facebook webpages and content that the user has “liked”;

(j)      All information about the Facebook pages that the account is or was a “fan” of;

(k)      All past and present lists of friends created by the account;

(l)      All records of Facebook searches performed by the account from January 14, 2024

         to February 1, 2024;

(m)      All information about the user’s access and use of Facebook Marketplace;

(n)      The types of service used by the user;




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(o)      The length of service (including start date) and the means and source of any

         payments associated with the service (including any credit card or bank account

         number);

(p)      All privacy settings and other account settings, including privacy settings for

         individual Facebook/Instagram posts and activities, and all records showing which

         Facebook users have been blocked by the account;

(q)      All records pertaining to communications between Facebook/Instagram and any

         person regarding the user or the user’s Facebook/Instagram account, including

         contacts with support services and records of actions taken.

(r)      All content (whether created, uploaded, or shares by or with the Account), records,

         and other information relating to videos (including live videos and videos on

         IGTV), image stories and archived stories, past and current bios and profiles, posts

         and archived posts, captions, tags, nametags, comments, mentions, likes, follows,

         followed hashtags, shares, invitations, and all associated logs and metadata, from

         January 14, 2024 to February 1, 2024.

(s)      All content, records, and other information relating to communications sent from

         or received by the accounts in Attachment A including by not limited to:

         a. The content of all communications sent from or received by the Accounts listed

            in Attachment A, including direct and group messages, and all associated

            multimedia and metadata, including deleted and draft content if available.

         b. All records and other information about direct, group, and disappearing

            messages sent from or received by the Accounts listed in Attachment A

            including dates and times, methods, sources, and destinations (including



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                   usernames and account numbers), and status (such as delivered, opened,

                   replayed, screenshot)

                c. All records and other information about group conversations and video chats,

                   including dates and times, durations, invitations, and participants

                d. All associated logs and metadata,

       (t)      All content, records, and other information relating to all other interactions between

                the Accounts listed in Attachment A and other Instagram users from January 14,

                2024 to February 1, 2024 including but not limited to:

                a. Interactions by other Instagram users with the Accounts listed in Attachment A

                   or its content, including posts, comments, like, tags, follows (including follows

                   unfollows, approved and denied follow requests, and blocks and unblocks),

                   shares invitations, and mentions

                b. All users the Accounts listed in Attachment A has followed including the close

                   friends list), unfollowed, blocked, unblocked, muted, restricted, or denied a

                   request to follow, and of users who have followed, unfollowed, blocked,

                   unblocked, muted, restricted, or denied a request to follow the account

                c. All contacts and related sync information

                d. All associated logs and metadata

       Meta is hereby ordered to disclose the above information to the government within 10 days

of issuance of this warrant.




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II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of 18 U.S.C. § 2119 (Carjacking), 18 U.S.C. § 924(c) (possessing

and/or brandishing a firearm during a crime of violence) involving Jabari GRIFFIN and Zaveasha

STINSON, including, for each user ID identified on Attachment A, information pertaining to the

following matters:

           (a) The relevant offense conduct, any preparatory steps taken in furtherance of the

               scheme, communications between Jabari GRIFFIN, Zaveasha STINSON, and

               others related to the relevant offense conduct of illegal use and possession of

               firearms and carjacking;

           (b) Evidence indicating how and when the Facebook account was accessed or used, to

               determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account owner;

           (c) Evidence indicating the Facebook account owner’s state of mind as it relates to the

               crime under investigation;

           (d) The identity of the person(s) who created or used the user ID, including records that

               help reveal the whereabouts of such person(s); and

           (e) The identity of the person(s) who communicated with the user ID about matters

               relating to relevant offense conduct of the sale of firearms and sale and use of

               controlled substances, including records that help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be



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conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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     AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEACH WARRANT

       I, Kevin Kaiser, being first duly sworn on oath, hereby depose and state as follows:

            INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE

       1.      I make this affidavit in support of an application for a search warrant for

information associated with certain Facebook and Instagram user IDs that are stored at premises

owned, maintained, controlled, or operated by Meta Platforms, Inc. (“Meta”), a social networking

company headquartered in Menlo Park, California. The information to be searched is described

in the following paragraphs and in Attachment A. This affidavit is made in support of an

application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to

require Meta to disclose to the government records and other information in its possession,

pertaining to the subscriber or customer associated with the user IDs.

       2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since April of 2023. Since April of 2023, I have been assigned to the FBI’s Milwaukee Area

Violent Crimes Task Force, a multi-jurisdictional law enforcement entity charged with

investigating violations of federal law, including bank robberies, commercial robberies, armed

motor vehicle robberies, and other violent crime matters, defined under Title 18 of the United

States Code. I have been trained in a variety of investigative and legal matters, including the topics

of Fourth Amendment searches, the drafting of search warrant affidavits, and probable cause. I

have participated in criminal investigations, surveillance, search warrants, interviews, and debriefs

of arrested subjects. As a result of this training and investigative experience, I have learned how

and why violent actors typically conduct various aspects of their criminal activities.




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       3.      Based on my training and experience, I know that criminal investigations have been

aided by subpoenas, warrants, and court orders related to electronic communication records by

providing critical investigative leads and corroborative evidence.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement agents and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.

       5.      Based on the investigation to date, I submit that there is probable cause to believe

that Jabari GRIFFIN (XX/XX/2003) and James POOLE (XX/XX/2005) conspired with known

and unknown individuals to commit an armed carjacking in Milwaukee, Wisconsin, on January

30, 2024, in violation of Title 18, United States Code, §§ 2119 (Carjacking) and 924(c)

(Brandishing a Firearm During the Commission of a Crime of Violence).

                                          PROBABLE CAUSE

                                     January 30, 2024 – Infiniti Q45

       6.      On January 30, 2024 at approximately 4:45 PM, A.P. (XX/XX/1979) entered his

Infiniti Q45 which was parked in a parking lot at 413 N 2nd Street, Milwaukee, Wisconsin. A.P.

observed an unknown subject approach from the rear of his vehicle. The subject tapped on A.P.’s

driver’s window, pointed a firearm at him, and told him to get out of the car and give him

everything. A.P. exited his vehicle and handed the subject the vehicle’s key fob. As A.P. began to

walk away, he observed that a dark colored SUV was parked behind his vehicle blocking him in.

       7.      The unknown subject entered A.P.’s vehicle and drove westbound on W. St. Paul

Avenue, following the dark colored SUV subject vehicle.




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       8.      The unknown subject was described as a black male in his 20’s, 5’09”, with a thin

build. He was wearing a black ski mask, black or blue sweatshirt, and black pants. He was armed

with two firearms, one silver and the other possibly black.

                                        Vehicle Recovery

       9.      At approximately 5:57 PM on January 30, 2024, the above-mentioned Infiniti was

recovered by police at 8200 W Burleigh St, Milwaukee, WI following a high-speed chase which

resulted in a crash. Five individuals were located in the vehicle: GRIFFIN, POOLE, and three

females (Z.S., B.H., and J.P.). POOLE was the driver.

                                       Witness Statements

       10.     On February 29, 2024, a federal agent with your affiant’s task force spoke with

B.H. about the carjacking. On March 4, 2024, the same federal agent spoke with J.P. about the

carjacking. Both B.H. and J.P. said that POOLE was the subject who exited the dark colored SUV

and carjacked A.P. at gunpoint. Both B.H. and J.P. also said that GRIFFIN ultimately drove the

dark colored SUV subject vehicle away. B.H. and J.P. also said that both POOLE and GRIFFIN

had guns with them.

       11.     Shortly after the carjacking of the Infiniti, all of the occupants in the dark colored

SUV subject vehicle transferred into the stolen Infiniti, including GRIFFIN, the three females

identified above, and an unidentified young black male named “MJ.” Both B.H. and J.P. said that

MJ was present in the subject vehicle throughout the night, including immediately before and

immediately after the carjacking, and was in the Infiniti when POOLE crashed it during the police

chase. J.P. further said that “MJ” began driving the subject vehicle away from the carjacking, but

that GRIFFIN took over as the getaway driver, at POOLE’s direction.




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       12.    B.H.       identified      MJ        through      his     Facebook        account:

facebook.com/LemmeSeeYoGunIWontTakeit. The Facebook User ID associated with this

account is: 100089864558713.

       13.    J.P. advised that Z.S. was in contact with POOLE through Facebook on January 29,

2024, and continued contact with POOLE after the vehicle pursuit and arrest of POOLE.

        Identification of GRIFFIN’s and Z.S.’s Facebook and Instagram Acccounts

       14.    Throughout the investigation, analysts with the Federal Bureau of Investigation and

the Milwaukee Police Department conducted open source searches of Facebook and Instagram for

all subjects who were identified as actors in the carjacking that occurred on January 30, 2024.

Analysts were able to locate one or more Facebook and Instagram accounts for two of the subjects.

       15.    An open source search for GRIFFIN’s Facebook account returned two accounts:

the first account located was facebook.com/profile.php?id=61552573884141. The Facebook User

ID associated with this account is: 61552573884141. The second account located was

facebook.com/profile.php?id=100035266607801. The Facebook User ID associated with this

account is: 100035266607801. A review of the publicly viewable postings associated with this

account match the known photographs of GRIFFIN, which were previously located in various law

enforcement databases.

       16.    An open source search for GRIFFIN’s Instagram account returned one account:

Instagram.com/bta_bari20/. The Instagram account name associated with this account was

bta_bari20. The Instagram User ID associated with this account is: 64059825298. A review of the

publicly viewable postings associated with this account match the known photographs of

GRIFFIN, which were previously located in various law enforcement databases.




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        17.     An open source search for Z.S.’s Facebook account returned two accounts: the first

account located was facebook.com/zavaesha.stinson.56. The Facebook User ID associated with

this    account      is:    100043712520182.          The       second   account    located     was

facebook.com/profile.php?id=100082689077562. The Facebook User ID associated with this

account is: 100082689077562. A review of the publicly viewable postings associated with this

account match the known photographs of Z.S., which were previously located in various law

enforcement databases.

        18.     An open source search for Z.S.’s Instagram account returned one account:

Instagram.com/nene_loww/. The Instagram account name associated with this account was

nene_loww. The Instagram User ID associated with this account is: 54125337735 A review of the

publicly viewable postings associated with this account match the known photographs of Z.S.,

which were previously located in various law enforcement databases.

        19.     The date range of January 14, 2024 to February 1, 2024 would allow evidence,

including articles of clothing, vehicles, weapons, associates, and the planning and preparation of

the violations in question to be identified by investigators.

        20.     Investigators are seeking to obtain Z.S.’s Facebook and Instagram information and

records to locate POOLE’S Facebook and Instagram accounts.


                                    TECHINICAL INFORMATION

       21.      Based on my training and experience, I am aware that individuals involved in

criminal activity, including violent offenses with firearms, have also used websites and third-party

applications, such as Facebook and Instagram, to communicate regarding their illegal activity and

flaunt illegal firearms.




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       22.        Meta Platforms, Inc. owns and operates the free-access social networking websites

called Facebook and Instagram that can be accessed at http://www.facebook.com and

http://www.Instagram.com respectively. Facebook/Instagram allow its users to establish accounts

with Facebook/Instagram, and users can then use their accounts to share written news, photographs,

videos, and other information with other Facebook/Instagram users, and sometimes with the

general public.

       23.        Facebook/Instagram asks users to provide basic contact and personal identifying

information to Facebook/Instagram, either during the registration process or thereafter. This

information may include the user’s full name, birth date, gender, contact e-mail addresses,

Facebook/Instagram passwords, physical address (including city, state, and zip code), telephone

numbers, screen names, websites, and other personal identifiers. Facebook/Instagram also assigns

a user identification number to each account.

       24.        Facebook/Instagram also collects and retains information about how each user

accesses and uses Facebook/Instagram. This includes information about the IP addresses used to

create and use an account, unique identifiers and other information about devices and web

browsers used to access an account, and session times and durations.

       25.        Each Instagram account is identified by a unique username chosen by the user.

Users can change their usernames whenever they choose but no two users can have the same

usernames at the same time. Instagram users can create multiple accounts and, if “added” to the

primary account, can switch between the associated accounts on a device without having to

repeatedly log in and log out.

       26.        Instagram users can also connect their Instagram and Facebook accounts to use

certain cross-platform features, and multiple Instagram accounts can be connected to a single



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Facebook account. Instagram accounts can also be connected to certain third-party websites and

mobile apps for similar functionality. For example, an Instagram user can “tweet” an image

uploaded to Instagram to a connected Twitter account or post it to a connected Facebook account,

or transfer an image from Instagram to a connected image printing service. Facebook maintains

records of changed Instagram usernames, associated Instagram accounts, and previous and current

connections with accounts on Facebook and third-party websites and mobile apps.

       27.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group

identification number to each group. A Facebook user can also connect directly with individual

Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”

accepts the request, then the two users will become “Friends” for purposes of Facebook and can

exchange communications or view information about each other. Each Facebook user’s account

includes a list of that user’s “Friends” and a “News Feed,” which highlights information about the

user’s “Friends,” such as profile changes, upcoming events, and birthdays.

       28.     Instagram users can “follow” other users to receive updates about their posts and to

gain access that might otherwise be restricted by privacy settings (for example, users can choose

whether their posts are visible to anyone or only to their followers). Users can also “block” other

users from viewing their posts and searching for their account, “mute” users to avoid seeing their

posts, and “restrict” users to hide certain activity and prescreen their comments. Instagram also

allows users to create a “close friends list” for targeting certain communications and activities to

a subset of followers.

       29.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a



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Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       30.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,

Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “Friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

       31.     Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It also

provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a

user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the

photo or video. For Facebook’s purposes, the photos and videos associated with a user’s account

will include all photos and videos uploaded by that user that have not been deleted, as well as all

photos and videos uploaded by any user that have that user tagged in them.




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       32.     Facebook users can exchange private messages on Facebook with other users.

Those messages are stored by Facebook unless deleted by the user. Facebook users can also post

comments on the Facebook profiles of other users or on their own profiles; such comments are

typically associated with a specific posting or item on the profile. In addition, Facebook has a chat

feature that allows users to send and receive instant messages through Facebook Messenger. These

chat communications are stored in the chat history for the account. Facebook also has Video and

Voice Calling features, and although Facebook does not record the calls themselves, it does keep

records of the date of each call.

       33.     If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       34.     Facebook has a “like” feature that allows users to give positive feedback or connect

to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or

content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of

particular Facebook pages.

       35.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

       36.     Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log includes

stories and photos that the user has been tagged in, as well as connections made through the account,

such as “liking” a Facebook page or adding someone as a friend. The activity log is visible to the

user but cannot be viewed by people who visit the user’s Facebook page.

       37.     Instagram users have several ways to search for friends and associates to follow on

Instagram, such as by allowing Facebook to access the contact list on their devices to identify



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which contacts are Instagram users. Facebook retains this contact data unless deleted by the user

and periodically syncs with the user’s devices to capture changes and additions. Users can similarly

allow Facebook to search an associated Facebook account for friends who are also Instagram users.

Users can also manually search for friends or associates

       38.     Each Instagram user has a profile page where certain content they create and share

(“posts”) can be viewed either by the general public or only the user’s followers, depending on the

privacy settings. Users can customize their profile by adding their name, a photo, a short biography

(“bio”), and a website address.

       39.     One of Instagram’s primary features is the ability to create, edit, share, and interact

with photos and short videos. Users can upload photos or videos taken with or store on their

devices, to which they can apply filters and other visual effects, add a caption, enter the usernames

of others (“tag”), or add a location. These appear as posts on the user’s profile. Users can remove

posts from their profiles by deleting or archiving them. Archived posts can be reposted because,

unlike deleted posts, they remain on Facebook servers.

       40.     Users can interact with posts by liking them, adding or replying to comments, or

sharing them within or outside of Instagram. Users receive notification when they are “tagged” in

a post by its creator or mentioned in a comment (user can “mention” others by adding their

username to a comment followed by “@”). An Instagram post created by one user may appear on

the profile or feeds of other users depending on several factors including privacy settings and

which users were tagged or mentioned.

       41.     An Instagram “story” is like a post but can be viewed by other users for only 24

hours. Stories are automatically saved to the creator’s “Story Archive” and remain on Facebook




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servers unless manually deleted. The usernames of those who viewed a story are visible to the

story’s creator until 48 hours after the story was posted.

        42.     Instagram allows users to broadcast live video from their profiles. Viewers can like

and add comments to the video while it is live, but the video and any user interactions are removed

from Instagram upon completion unless the creator chooses to send the video to IGTV, Instagram’s

long-form video app.

        43.     Instagram’s direct messaging service, allows users to send private messages to

select individuals or groups. These messages may include text, photos, videos, posts, profiles, and

other information. Participants to a group conversation can name the group and send invitations to

other to join. Instagram users can send individual or group messages with “disappearing” photos

or videos that can only be viewed by recipients once or twice, depending on settings. Senders can’t

view their disappearing messages after they are sent but do have access to each message status,

which indicates whether it was delivered, opened, or replayed, and if the recipient took a

screenshot. Instagram Direct also enables users to video chat with each other directly or in groups.

        44.     Instagram offers services such as Instagram Checkout and Facebook Pay for users

to make purchases, donate money, and conduct other financial transactions within the Instagram

platform, Facebook, and other associated websites and apps. Instagram collects and retains

payment information, billing records, and transactional and other information when these services

are utilized.

        45.     Instagram has a search function which allows users to search for accounts by

username, user activity by location and user activity by hashtag. Hashtags, which are topical words

or phrases preceded by a hash sign (#), can be added to posts to make them more easily searchable




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and can be “followed” to generate related updates from Instagram. Facebook retains records of a

user’s search history and followed hashtags.

       46.     Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

       47.     In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications (“apps”) on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about that the user’s access or

use of that application may appear on the user’s profile page.

       48.     Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP address.

These logs may contain information about the actions taken by the user ID or IP address on

Facebook, including information about the type of action, the date and time of the action, and the

user ID and IP address associated with the action. For example, if a user views a Facebook profile,

that user’s IP log would reflect the fact that the user viewed the profile, and would show when and

from what IP address the user did so.

       49.     Facebook collects and retains location information relating to the use of an

Instagram account, including user-entered location tags and location information used by

Facebook to personalize and target advertisements.

       50.     Social networking providers like Meta Platforms, Inc. typically retain additional

information about their users’ accounts, such as information about the length of service (including

start date), the types of service utilized, and the means and source of any payments associated with

the service (including any credit card or bank account number). In some cases, Facebook or

Instagram users may communicate directly with Facebook about issues relating to their accounts,

such as technical problems, billing inquiries, or complaints from other users. Social networking



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providers like Meta Platforms, Inc. typically retain records about such communications, including

records of contacts between the user and the provider’s support services, as well as records of any

actions taken by the provider or user as a result of the communications.

       51.     As explained herein, information stored in connection with a Facebook or

Instagram account may provide crucial evidence of the “who, what, why, when, where, and how”

of the criminal conduct under investigation, thus enabling the United States to establish and prove

each element or alternatively, to exclude the innocent from further suspicion. In my training and

experience, a Facebook or Instagram user’s IP log, stored electronic communications, and other

data retained by Meta Platforms, Inc., can indicate who has used or controlled the Facebook

account. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence. For example, profile contact information, private

messaging logs, status updates, and tagged photos (and the data associated with the foregoing,

such as date and time) may be evidence of who used or controlled the Facebook account at a

relevant time. Further, Facebook or Instagram account activity can show how and when the

account was accessed or used. For example, as described herein, Facebook logs the Internet

Protocol (IP) addresses from which users access their accounts along with the time and date. By

determining the physical location associated with the logged IP addresses; investigators can

understand the chronological and geographic context of the account access and use relating to the

crime under investigation. Such information allows investigators to understand the geographic

and chronological context of Facebook access, use, and events relating to the crime under

investigation. Additionally, Facebook builds geo-location into some of its services. Geo-location

allows, for example, users to “tag” their location in posts and Facebook “friends” to locate each

other. This geographic and timeline information may tend to either inculpate or exculpate the



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Facebook account owner. Lastly, Facebook or Instagram account activity may provide relevant

insight into the Facebook/ Instagram account owner’s state of mind as it relates to the offense

under investigation. For example, information on the Facebook/ Instagram account may indicate

the owner’s motive and intent to commit a crime (e.g., information indicating a plan to commit a

crime), or consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement).

       52.     Therefore, the computers of Meta Platforms, Inc. are likely to contain all the

material described above, including stored electronic communications and information concerning

subscribers and their use of Facebook/Instagram, such as account access information, transaction

information, and other account information.




             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       53.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to

require Meta, Inc. to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B1

and B2. Upon receipt of the information described in Section I of Attachment B1 and B2,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B1 and B2.

                                        CONCLUSION

       54.     Based on the foregoing, I request that the Court issue the proposed search warrant.




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        55.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant by

serving it on Meta Platforms, Inc. Because the warrant will be served on Meta Platforms, Inc.,

who will then compile the requested records at a time convenient to it, reasonable cause exists to

permit the execution of the requested warrant at any time in the day or night.

        56.     This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

        57.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant




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                                      ATTACHMENT A


                                   Property to Be Searched


To the extent that the information described in Attachment B is within the possession, custody,

or control of Instagram/Facebook that is stored at premises owned, maintained, controlled or

operated by Meta Platforms, Inc. (“Meta”), a company headquartered in Menlo Park, California,

Instagram/Facebook is required to disclose to the government the information for the following

accounts and dates:


 FACEBOOK NAME           FACEBOOK IDENTIFICATION               DATES
                         (UID)

 BariWith TheNats        61552573884141                        January 14, 2024 to February 1,
                                                               2024

 Bäri Löwëšt ÏññäMïl     100035266607801                       January 14, 2024 to February 1,
                                                               2024

 Thanks ForYo Bape       100089864558713                       January 14, 2024 to February 1,
                                                               2024

 Zavaesha Stinson        100043712520182                       January 14, 2024 to February 1,
                                                               2024

 Nene Lõww               100082689077562                       January 14, 2024 to February 1,
                                                               2024



 INSTAGRAM               INSTAGRAM WEB ADDRESS                         DATES
 ACCOUNT
 USERNAME
 Bta_bari20              https://www.instagram.com/bta_bari20/         January 14, 2024 to
                                                                       February 1, 2024
 Nene_loww               https://www.instagram.com/nene_loww/          January 14, 2024 to
                                                                       February 1, 2024




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                                       ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Meta Platforms, Inc.

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Meta Platforms, Inc. (“Meta”), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Meta, or have been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), Meta is required to disclose the following information

to the government for each user ID listed in Attachment A:

       (a)     All contact and personal identifying information, including the full name, user

               identification number, birth date, gender, contact e-mail addresses, physical address

               (including city, state, and zip code), telephone numbers, screen names, websites,

               and other personal identifiers for user Account Name with the Usernames and

               Account IDs listed in Attachment A.

       (b)     All activity logs for the account and all other documents showing the user’s posts

               and other Facebook or Instagram activities from January 14, 2024 to February 1,

               2024;

       (c)     All photos and videos uploaded by that user ID and all photos and videos uploaded

               by any user that have that user tagged in them, including Exchangeable Image File

               (“EXIF”) data and any other metadata associated with those photos and videos;

       (d)     All profile information; News Feed information; status updates; videos,

               photographs, articles, and other items; Notes; Wall postings; friend lists, including

               the friends’ Facebook user identification numbers; groups and networks of which



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         the user is a member, including the groups’ Facebook/Instagram group

         identification numbers; future and past event postings; rejected “Friend” requests;

         comments; gifts; pokes; tags; and information about the user’s access and use of

         Facebook applications;

(e)      All records or other information regarding the devices and internet browsers

         associated with, or used in connection with, that user ID, including the hardware

         model, operating system version, unique device identifiers, mobile network

         information, and user agent string;

(f)      All other records and contents of communications and messages made or received

         by the user from January 14, 2024 to February 1, 2024, including all Messenger

         activity, private messages, chat history, video and voice calling history, and

         pending “Friend” requests;

(g)      All “check ins” and other location information;

(h)      All IP logs, including all records of the IP addresses that logged into the account;

(i)      All records of the account’s usage of the “Like” feature, including all Facebook

         posts and all non-Facebook webpages and content that the user has “liked”;

(j)      All information about the Facebook pages that the account is or was a “fan” of;

(k)      All past and present lists of friends created by the account;

(l)      All records of Facebook searches performed by the account from January 14, 2024

         to February 1, 2024;

(m)      All information about the user’s access and use of Facebook Marketplace;

(n)      The types of service used by the user;




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(o)   The length of service (including start date) and the means and source of any

      payments associated with the service (including any credit card or bank account

      number);

(p)   All privacy settings and other account settings, including privacy settings for

      individual Facebook/Instagram posts and activities, and all records showing which

      Facebook users have been blocked by the account;

(q)   All records pertaining to communications between Facebook/Instagram and any

      person regarding the user or the user’s Facebook/Instagram account, including

      contacts with support services and records of actions taken.

(r)   All content (whether created, uploaded, or shares by or with the Account), records,

      and other information relating to videos (including live videos and videos on

      IGTV), image stories and archived stories, past and current bios and profiles, posts

      and archived posts, captions, tags, nametags, comments, mentions, likes, follows,

      followed hashtags, shares, invitations, and all associated logs and metadata, from

      January 14, 2024 to February 1, 2024.

(s)   All content, records, and other information relating to communications sent from

      or received by the accounts in Attachment A including by not limited to:

      a. The content of all communications sent from or received by the Accounts listed

         in Attachment A, including direct and group messages, and all associated

         multimedia and metadata, including deleted and draft content if available.

      b. All records and other information about direct, group, and disappearing

         messages sent from or received by the Accounts listed in Attachment A

         including dates and times, methods, sources, and destinations (including



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                   usernames and account numbers), and status (such as delivered, opened,

                   replayed, screenshot)

                c. All records and other information about group conversations and video chats,

                   including dates and times, durations, invitations, and participants

                d. All associated logs and metadata,

       (t)      All content, records, and other information relating to all other interactions between

                the Accounts listed in Attachment A and other Instagram users from January 14,

                2024 to February 1, 2024 including but not limited to:

                a. Interactions by other Instagram users with the Accounts listed in Attachment A

                   or its content, including posts, comments, like, tags, follows (including follows

                   unfollows, approved and denied follow requests, and blocks and unblocks),

                   shares invitations, and mentions

                b. All users the Accounts listed in Attachment A has followed including the close

                   friends list), unfollowed, blocked, unblocked, muted, restricted, or denied a

                   request to follow, and of users who have followed, unfollowed, blocked,

                   unblocked, muted, restricted, or denied a request to follow the account

                c. All contacts and related sync information

                d. All associated logs and metadata

       Meta is hereby ordered to disclose the above information to the government within 10 days

of issuance of this warrant.




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II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of 18 U.S.C. § 2119 (Carjacking), 18 U.S.C. § 924(c) (possessing

and/or brandishing a firearm during a crime of violence) involving Jabari GRIFFIN and Zaveasha

STINSON, including, for each user ID identified on Attachment A, information pertaining to the

following matters:

           (a) The relevant offense conduct, any preparatory steps taken in furtherance of the

               scheme, communications between Jabari GRIFFIN, Zaveasha STINSON, and

               others related to the relevant offense conduct of illegal use and possession of

               firearms and carjacking;

           (b) Evidence indicating how and when the Facebook account was accessed or used, to

               determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account owner;

           (c) Evidence indicating the Facebook account owner’s state of mind as it relates to the

               crime under investigation;

           (d) The identity of the person(s) who created or used the user ID, including records that

               help reveal the whereabouts of such person(s); and

           (e) The identity of the person(s) who communicated with the user ID about matters

               relating to relevant offense conduct of the sale of firearms and sale and use of

               controlled substances, including records that help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be



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conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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   CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS PURSUANT TO
            FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct.        I am employed by Facebook, and my title is
_____________________________. I am qualified to authenticate the records attached hereto
because I am familiar with how the records were created, managed, stored, and retrieved. I state
that the records attached hereto are true duplicates of the original records in the custody of
Facebook.      The attached records consist of ______________ [GENERALLY DESCRIBE
RECORDS (pages/CDs/megabytes)]. I further state that:


        a.      all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of Facebook, and they were made by Facebook as a regular practice; and


        b.      such records were generated by Facebook’s electronic process or system that
produces an accurate result, to wit:


                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of Facebook in a manner to ensure that they are true duplicates of the original
records; and
                2.     the process or system is regularly verified by Facebook, and at all times
pertinent to the records certified here the process and system functioned properly and normally.


        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.



 Date                                  Signature




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